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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

       NETLIST, INC.,                  )
                                       )
                 Plaintiff,            )
                                       )              Case No. 2:22-cv-2033-JRG
            vs.                        )
                                       )              JURY TRIAL DEMANDED
       MICRON TECHNOLOGY, INC., MICRON )
       SEMICONDUCTOR PRODUCTS, INC., )
       MICRON TECHNOLOGY TEXAS LLC     )
                                       )
                 Defendants.           )
                                       )


                                              ORDER

             The Court, having considered the briefing on Netlist’s Motion To Strike Micron

      Defendants’ Affirmative Defense Of Patent Misuse, the opposition, and exhibits attached

      thereto, is of the opinion that said motion should be GRANTED.


             IT IS SO ORDERED.
